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                         IN THE UNITED STATES DISTRICT COURT

                             FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,           )
                                    )
                  Plaintiff,        )                        8:06CR207
                                    )
            v.                      )
                                    )
AARON MIRANDA-QUIROZ,               )                 PRELIMINARY ORDER
                                    )                   OF FORFEITURE
                  Defendant.        )
____________________________________)


               This matter is before the Court upon the United States' Motion for Issuance of

Preliminary Order of Forfeiture and Memorandum Brief (Filing No. 46). The Court reviews the

record in this case and finds as follows:

               1) The defendant has entered into a Plea Agreement, whereby he has agreed to

plead guilty to Counts I, VIII, X. XI, XII and XIII of said Indictment. Count I of said Indictment

charges the defendant with conspiracy to distribute methamphetamine, a violation of 21 U.S.C.

§ 846. Count VIII charges a violation of possession of a firearm less than 18 inches in length not

registered to the defendant, a violation of Title 18 U.S.C. § 924(d) and 28 U.S.C. § 2461. Counts

X, XI, XII and XIII of said Indictment charge the defendant with using the following:

               a.      9mm Hi Point, Model C9 Luger, serial number P113411

               b.      FEG 9mm semi-automatic handgun Model P9RZ, serial number
                       RZ00337

               c.      Mossberg Model 835, 12 gauge shotgun, serial number UM473323

               d.      Mossberg 12 gauge shotgun Model 88, serial number NV20307L
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on the basis they were involved or used in the knowing commission of the offense charged in

Count VIII of the Indictment filed herein.

               2) By virtue of said plea of guilty, the defendant forfeits his interest in the subject

properties, and the United States should be entitled to possession of said properties, pursuant to

21 U.S.C. § 853.

               3) The United States' Motion for Issuance of Preliminary Order of Forfeiture

should be sustained.

               IT IS ORDERED:

               A. The United States' Motion for Issuance of Preliminary Order of Forfeiture is

hereby sustained.

               B. Based upon Counts X, XI, XII and XIII of the Indictment and the defendant's

plea of guilty, the Bureau of Alcohol, Tobacco and Firearms for the District of Nebraska ("ATF")

is hereby authorized to seize the following-described properties:

               a.      9mm Hi Point, Model C9 Luger, serial number P113411

               b.      FEG 9mm semi-automatic handgun Model P9RZ, serial number
                       RZ00337

               c.      Mossberg Model 835, 12 gauge shotgun, serial number UM473323

               d.      Mossberg 12 gauge shotgun Model 88, serial number NV20307L

               C. The defendant's interest in said properties is hereby forfeited to the United

States of America for disposition in accordance with the law, subject to the provisions of 21

U.S.C. § 853(n)(1).




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                D. The aforementioned forfeited properties are to be held by ATF in its secure

custody and control.

                E. Pursuant to 21 U.S.C., § 853(n)(1), the United States forthwith shall publish at

least once for three successive weeks in a newspaper of general circulation, in the county where

the subject properties are situated, notice of this Order, notice of the United States’ intent to

dispose of the properties in such manner as the Attorney General may direct, and notice that any

person, other than the defendant, having or claiming a legal interest in any of the subject forfeited

properties must file a Petition with the court within thirty (30) days of the final publication of

notice or of receipt of actual notice, whichever is earlier.

                F. Said published notice shall state the Petition referred to in Paragraph E., above,

shall be for a hearing to adjudicate the validity of the Petitioner's alleged interest in the

properties, shall be signed by the Petitioner under penalty of perjury, and shall set forth the nature

and extent of the Petitioner's right, title or interest in the subject properties and any additional

facts supporting the Petitioner's claim and the relief sought.

                G. The United States may also, to the extent practicable, provide direct written

notice to any person known to have alleged an interest in the properties subject to this Order as a

substitute for published notice as to those persons so notified.

                H. Upon adjudication of all third-party interests, this Court will enter a Final

Order of Forfeiture pursuant to 21 U.S.C., § 853(n), in which all interests will be addressed.

                DATED this 19th day of September, 2006.

                                                BY THE COURT:

                                                /s/ Lyle E. Strom

                                                LYLE E. STROM, SENIOR JUDGE
                                                United States District Court


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